Case 2:18-cv-06091-GW-SK Document 12 Filed 09/04/18 Page 1 of 2 Page |D #:36

 

Auamcy or Pa/!y wllhoul A!tome)c For Coun Use On!y

LYNCH l.LP
CONNOR l.YNCH, ESQ. (SBN 301538)
4470 W. SUNSET BLVD. NO. 90096
LOS ANGELES, CA 90027

I€lephone Ho.' (949) 229»3141

Auomcy ron p|a|"mf el No. or me Na.:

insert name o[Courl, and/udicial visuch and n/a¢)ch Caur¢:
UN|TED STATES DJSTRICT COURT FOR THE CENTRAL D¢STR|CT OF CAL|FORN|A

Pla!ntI/F PRETTY {N PLASTIC, |NC.
Defendom: MAR¥ELUS BUNN, et a|.

pR()()F ()F SERV|CE Henring Dale: mne: aspr/mw Case N¢)mber:
2:1 8-CV-06091

 

 

 

 

 

 

 

 

 

 

1 . Al the time of service Iwas al least 18 years of age and not 0 pony lo this acm)n.

2. !Sefved Copies Of the SUMMONS lN A ClVlL/\CT(ON; COMPLAINT; NOT{CE OF ASS|GNMENT TO UN|TED STATESJUDGES;
OR[)ER RETURN|NG CASE FOR REASS!GNMENT.

3. a. Parlyserved: 1AND8 }NC., dba MUSEUM OF |CE Cf\L-`AM
b. Persan servcd: MARYELUS BUNN. AGENT OF SERVICE
.S`en/ecl Under F.R.C.P. Rula d

4. mid/ess where the party was serverl: 3657 SEVEN SEAS AVE
U\ND 0 U\I<ES, FL 34638

5. l served the party:
a. bysubstituted service. On: Sat, Aug 25 2018 atc 11:00 AM by leaving the copies with or in the presence o{:

"lCHN DOE", CO-OCCL!PANT (East Ind|an mafe, 5'6", 170 lbs., Sa!l & pepper Halr, 65 years olci)

(1) (Resldunca or Usua| P|ace of Abode) a person of suitable age and d|scretlon who resides (l\er‘e.

(2) i:] (Company) a Person ln charge at least 18 years of age apparently in charge of the office or usual p!ace of
bus!ness of the person scrved. l informed him or her of the general nature of the papers.

(3) (oec!arauon ofmamng) ss auacheu,

(4) [::] (Dcc¥arat{on of Dlltgence) attached stating actions taken first to attempt personai service.

6. Pe)'sou Who Served Papers:

a. ANDREW DROS|NOS d. Yhe Fee for Service was:

b. F|RST LEGAL |NVEST!GAT|GNS e. t am: NotA Reglscered Ca\lfomla Process Sewer
2070 N. TUS\'|N AVENUE, ?.ND FLOOR

SANTA AN/\, CA 92705

C. (714) 550-1378

7. l declare under penalty of perjury under the laws of lhe Unfted States of mnerlcu mut the foregoing ls m)e and correct

§>/ 531 1% /BLCLLQT '“~'“~

(Dale) (Signature)

 

PROOF OF 2586949
SERVICE (3683!4}

 

 

Case 2:18-cv-06091-GW-SK Document 12

Filed 09/04/18 Page 2 of 2 Page |D #:37

 

Attorney or Party Without Attorney:
LYNCH LLP
CONNOR LYNCH, ESQ. (SBI\I 301538)
4470 W. SUNSET BLVD. NO. 90096
LOS ANGELES, CA 90027

Te/ephone No.‘ (949) 229-3141

Attorney For: Pla intiff

For Court Use Only

 

Ref. No. ar Fi/e No.:

 

 

insert name of Coun‘, and judicial District and Branch Court:
UN|TED STATES DlS'l'RlCT COURT FORTHE CENTRAL DlSTRICT OF CAL|FORNIA

 

P/aintl`]j‘. PRETTY lN PLASTlC, INC.
Defendant.‘ |\/lARYELL|S BUNN, et a|.

 

PROOF OF SERV|CE
By l\/lai|

 

 

Hearing Date:

 

Tim e:

Dept/Di\/: Case Nam ber:
2118~CV-06091

 

 

 

1. lam over the age of 18 and not a parW to this action. lam employed in the county Where the mailing occurred.

2. |Served COpieS Ofthe SUl\/il\/|ONS lN A C|V|L ACT|ON; COMPLA|NT; NOTlCE OF ASS|GN|\/|ENT TO UN|TED STATES_|UDGES;
ORDER RETURN|NG CASE FOR REASS|GNi\/|ENT.

3. By placing a true copy of each document in the United States mail, in a sealed envelope by First Class mail With postage

prepaid as fol|oWs:

a. Date of l\/|ailing: Tues, Aug 28, 2018
b. P|ace of l\/Iai|ing: SANTA ANA, CA 92705
C. Addressed as follows: 1AND8 INC., dba i\/|USEUl\/l OF |CE CREA|\/|

3657 SEVEN SEAS AVE, LAND O LAKES, FL 34638

4. lam readily fami/iar With the business practice for collection and processing of correspondence as deposited With the U.$. Posta/
Ser\/ice on Tues, Aug 28, 2078 in the ordinary course of business

5. Person Serving:
a. Victoria Diaz
b. F|RST LEGAL lNVESTlGAT|ONS

2070 N. TUST|N AVENUE, 2ND FLOOR

SANTA ANA, CA 92705
C. (714) 550-1375

Recoverab|e cost Per CCP 1033.5(a)(4)(B)

d. The Fee for Ser\/ice Was:
e. l am: NotA Registered Ca|ifornia Process Server

6. / declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

 

 

 

 

H RSTLEGAL

judicial Council Form
Ru|e 2.150.(a)&(b) Revjanuary 1, 2007

Av*\"iaia;§iig§

 

08/29/201 8
(Date) (Sign ature)
PROOF OF SERV|CE 2586949
BY |V|A|L (368374)

 

